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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA                                DEFERRED PROSECUTION
                                                        AGREEMENT
                    v.
                                                        S1 17 Cr. 357 (LAK)
DAVID BLASZCZAK,

                         Defendant.


TO:       DAVID BLASZCZAK,

               1.        On March 5, 2018, Superseding Indictment S1 17 Cr. 357 (LAK) (the

“Indictment”) was filed in 18 counts, some of which charged DAVID BLASZCZAK, the

defendant, with participating in a scheme to misappropriate confidential information from the

Centers for Medicare and Medicaid Services (“CMS”) for use in placing profitable securities

trades.

               2.        On May 3, 2018, a jury convicted BLASZCZAK of Count One, which

charged conspiracy to convert United States property, to commit securities fraud, and to defraud

the United States, in violation of 18 U.S.C. § 371; Count Two, which charged conspiracy to commit

wire fraud and securities fraud, in violation of 18 U.S.C. § 1349; Count Three, which charged

conversion of United States property, in violation of 18 U.S.C. §§ 641 and 2; Count Nine, which

charged wire fraud, in violation of 18 U.S.C. §§ 1343 and 2; Count Ten, which charged securities

fraud, in violation of 18 U.S.C. §§ 1348 and 2; Count Thirteen, which charged conversion of

United States property, in violation of 18 U.S.C. §§ 641 and 2; Count Fifteen, which charged wire

fraud, in violation of 18 U.S.C. §§ 1343 and 2; Count Sixteen, which charged securities fraud, in

violation of 18 U.S.C. §§ 1348 and 2; Count Seventeen, which charged conspiracy to convert

United States property and to defraud the United States, in violation of 18 U.S.C. § 371; and Count
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    Eighteen, which alleged conversion of United States property, in violation of 18 U.S.C. § 641.

                    3.       On December 30, 2019, the U.S. Court of Appeals for the Second Circuit

    affirmed the convictions of BLASZCZAK. United States v. Blaszczak, 947 F.3d 30 (2d Cir. 2019).

                    4.       On September 4, 2020, BLASZCZAK filed a petition for a writ of certiorari.

                    5.       At the Solicitor General’s request, the Supreme Court vacated the Second

    Circuit’s judgment and remanded the case for further consideration in light of Kelly v. United

    States, 140 S. Ct. 1565 (2020). Olan v. United States, 141 S. Ct. 1040 (2021); Blaszczak v. United

    States, 141 S. Ct. 1040 (2021).

                    6.       On remand to the U.S. Court of Appeals for the Second Circuit, the

    Government was constrained to concede error with respect to Counts One, Two, Three, Nine, Ten,

    Thirteen, Fifteen, Sixteen, Seventeen, and Eighteen in light of Kelly.

                    7.       On December 27, 2022, the U.S. Court of Appeals for the Second Circuit

    issued a decision, inter alia, remanding Counts Two, Three, Nine, Ten, Thirteen, Fifteen, Sixteen,

    and Eighteen of the Indictment to the District Court to permit the Government to dismiss those counts

    of conviction, and remanding Counts One and Seventeen of the Indictment to the District Court for a new

    trial. United States v. Blaszczak, 56F.4th 230 (2d Cir. 2022). 1

                    8.       BLASZCZAK hereby acknowledges receiving information regarding a

    proposed rule change by CMS prior to its issuance, and providing it to his Deerfield Management

    Company, L.P. and Visium Asset Management, L.P. clients for use in analyzing and placing

    securities trades.




1
  Pursuant to United States v. Blaszczak, 56 F. 4th 230 (2d Cir. 2022), the Government will move
to dismiss Counts Two, Three, Nine, Ten, Thirteen, Fifteen, Sixteen, and Eighteen of the
Indictment, even if the Government decides to proceed to retrial on Counts One or Seventeen.
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               9.      After careful consideration of the foregoing, the Government has

determined that the interest of the United States and BLASZCZAK’s own interest will best be

served by deferring the retrial of Counts One and Seventeen of the Indictment. The retrial will be

deferred during the term of BLASZCZAK’s good behavior and satisfactory compliance with the

terms of this agreement for the period of three months from the signing of this agreement ( T h e

“Period”)       The terms and conditions constituting BLASZCZAK’s good behavior and

satisfactory compliance are as follows:

                       a.       You shall refrain from any violation of law (federal, state and local).

You shall immediately contact your U.S. Pretrial Services Officer if arrested or questioned

by a law-enforcement officer.

                       b.       You shall associate only with law-abiding persons.

                       c.       You shall notify your supervising U.S. Pretrial Services Officer

prior to traveling outside the United States.


                       d.       You shall notify your supervising U.S. Pretrial Services Officer

immediately of any change in your place of residence.

                       e.       You shall follow your supervising U.S. Pretrial Services Officer's

instructions and advice.

                       f.       You shall report to your supervising U.S. Pretrial Services Officer

as directed.

               10.     As a further condition you hereby consent to disclosure, by any federal, state

or local government agency, or by any medical or substance abuse treatment provider, to the U.S.

Pretrial Services Officer supervising your case, of such medical and treatment records as may be

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requested by the Pretrial Services Officer to evaluate deferral of prosecution in this case. You

further agree that you will execute any additional consent forms that any such agency or provider

may require to release such information.

               11.     The United States Attorney agrees that, upon the signing of this agreement,

your passport shall be returned and the restrictions on your travel set forth in your appearance bond

shall be removed, subject to the limitation in paragraph 9(c) above.

               12.     The United States Attorney may at any time proceed with the retrial of

Counts One and Seventeen of the Indictment should the United States Attorney determine, in his or

her sole discretion, that this agreement has been violated.

               13.     If upon completion of your supervision a written report from your

supervising U.S. Pretrial Services Officer is received to the effect that you have complied with all

the rules, regulations and conditions and special conditions applicable to your deferred

prosecution, no retrial of Counts One or Seventeen of the Indictment will be instituted in this

District, and the United States Attorney will move to dismiss with prejudice all remaining charges

in S1 17 Cr. 357 (LAK).


Dated: New York, New York
       July 24 , 2023

                                                          DAMIAN WILLIAMS
                                                          United States Attorney for the
                                                          Southern District of New York



                                                    By:
                                                          Alexandra Rothman
                                                          Assistant United States Attorney
                                                          Tel.: (212) 637-2580
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               The undersigned hereby consents to the foregoing and expressly waives any and all

rights to a speedy trial pursuant to the Sixth Amendment to the United States Constitution, the

Speedy Trial Act, 18 U.S.C. §§ 3161 et seq., and any other pertinent provisions, and consents to

the adjournment of all pending proceedings in this case. The undersigned further waives the

applicable statute of limitations with respect to any prosecution that is not time-barred on the date

that this agreement is signed. It is the intent of this provision to toll the applicable statute of

limitations during the pendency of the deferred prosecution.

Dated: New York, New York
       Julyo,~, 2023


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Federal Defenders of New York, Inc.                       t- - ~.
Attorney for Defendant




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               Pursuant to 18 U.S.C. § 3161(h)(2), exclusion under the Speedy Trial Act of the

period of time during which the prosecution of the defendant is deferred pursuant to this agreement

is hereby approved.


Dated: New York, New York
       July   , 2023



                                                         Hon. Lewis A. Kaplan
                                                         United States District Judge


               The undersigned hereby consents to the foregoing and will accept supervision of

the above-named defendant on the conditions set forth herein.


Dated: New York, New York
       July 20, 2023



                                                         Marlon Ovalles
                                                         United States Pretrial Services




                                                                                           07.29.2012
